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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known):                                                Chapter you are filing under:
                                                                              Chapter 7
                                                                              Chapter 11
                                                                              Chapter 12
                                                                                                                                         Check if this is an
                                                                              Chapter 13
                                                                                                                                         amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For
example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about
the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for



 Part 1:           Identify Yourself
                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
      Write the name that is on
      your
                                           David                                                        Colleen
                                           First Name                                                   First Name
      government-issued
      picture                              Joe                                                          Anders
                                           Middle Name                                                  Middle Name
      identification (for example,
      your driver's license or             Dunham                                                       Dunham
      passport).                           Last Name                                                    Last Name


      Bring your picture                   Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)


2.    All other names you                                                                               Colleen
      have used in the last 8              First Name                                                   First Name
      years                                                                                             Sue
                                           Middle Name                                                  Middle Name
      Include your married or
                                                                                                        Anders
      maiden names.
                                           Last Name                                                    Last Name



3.    Only the last 4 digits of
      your Social Security                 xxx – xx –                     8       6        6     1      xxx – xx –                   8        7       1        7
      number or federal
                                           OR                                                           OR
      Individual Taxpayer
      Identification number                9xx – xx –                                                   9xx – xx –
      (ITIN)




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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                                 Case number (if known)

                                        About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
4.   Any business names                         I have not used any business names or EINs.                     I have not used any business names or EINs.
     and Employer
     Identification Numbers
                                        Business name                                                    Business name
     (EIN) you have used in
     the last 8 years
                                        Business name                                                    Business name
     Include trade names and
     doing business as
                                        Business name                                                    Business name

                                                       –                                                               –
                                        EIN                                                              EIN

                                                       –                                                               –
                                        EIN                                                              EIN

5.   Where you live                                                                                      If Debtor 2 lives at a different address:

                                        1507 E 53rd Street
                                        Number         Street                                            Number        Street




                                        Tulsa                                OK           74105
                                        City                                 State        ZIP Code       City                                State        ZIP Code

                                        Tulsa
                                        County                                                           County


                                        If your mailing address is different from                        If Debtor 2's mailing address is different
                                        the one above, fill it in here.
                                                                     Note that the                       from yours, fill it in here.
                                                                                                                                   Note that the court
                                        court will send any notices to you at this                       will send any notices to you at this mailing
                                        mailing address.                                                 address.


                                        Number         Street                                            Number        Street



                                        P.O. Box                                                         P.O. Box


                                        City                                 State        ZIP Code       City                                State        ZIP Code



6.   Why you are choosing               Check one:                                                       Check one:
     this district to file for
                                                Over the last 180 days before filing                            Over the last 180 days before filing
     bankruptcy
                                                this                                                            this
                                                petition, I have lived in this district                         petition, I have lived in this district

                                                I have another reason. Explain.                                 I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)


 Part 2:         Tell the Court About Your Bankruptcy Case

7.   The chapter of the                Check one:(For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you               for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                     Chapter 7

                                               Chapter 11
                                               Chapter 12

                                               Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                                    page 2
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Debtor 1           David Joe Dunham
                   Colleen Anders Dunham                                                              Case number (if known)

8.    How you will pay the fee                  I will pay the entire fee when I file my petition.
                                                                                              Please check with the clerk's office in your local
                                                court for more details about how you may pay. Typically, if you are paying the fee yourself,
                                                you may
                                                pay with cash, cashier's check, or money order. If your attorney is submitting your


                                                I need to pay the fee in installments.
                                                                                     If you choose this option, sign and attach the Application for
                                                Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived
                                                                             (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your
                                                income is less
                                                than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the



9.    Have you filed for                        No
      bankruptcy within the
      last 8 years?                             Yes.
                                           District                                                       When                        Case number
                                                                                                                  MM / DD / YYYY

                                           District                                                       When                        Case number
                                                                                                                  MM / DD / YYYY

                                           District                                                       When                        Case number
                                                                                                                  MM / DD / YYYY

10.   Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                  Yes.
      not filing this case with
      you, or by a business
                                           Debtor                                                                       Relationship to you
      partner, or by an                    District                                                       When                        Case number,
      affiliate?                                                                                                  MM / DD / YYYY      if known

                                           Debtor                                                                       Relationship to you

                                           District                                                       When                        Case number,
                                                                                                                  MM / DD / YYYY      if known

11.   Do you rent your                          No. Go to line 12.
      residence?
                                                Yes. Has your landlord obtained an eviction judgment against you?
                                                              No. Go to line 12.
                                                              Yes. Fill out Initial Statement About an Eviction Judgment Against You
                                                              (Form 101A)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                     Case number (if known)

 Part 3:          Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor             No. Go to Part 4.
      of any full- or part-time
                                            Yes. Name and location of business
      business?

      A sole proprietorship is a
                                                  Name of business, if any
      business you operate as
      an
                                                  Number       Street
      individual, and is not a
      separate legal entity such
      as
      a corporation, partnership,
      or                                          City                                                 State           ZIP Code
      LLC.
                                                  Check the appropriate box to describe your business:
      If you have more than one
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines.If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
      are you asmall business           or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor?
                                            No.   I am not filing under Chapter 11.

      For a definition of small
                                            No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      business debtor, see
                                                  the Bankruptcy Code.
      11 U.S.C. § 101(51D).
                                            Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.

 Part 4:          Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any                No
      property that poses or is             Yes. What is the hazard?
      alleged to pose a threat
      of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own                       If immediate attention is needed, why is it needed?
      any property that needs

      For example, do you own
      perishable goods, or
      livestock that must be fed,                 Where is the property?
                                                                             Number   Street
      or
      a building that needs



                                                                             City                                  State          ZIP Code




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Debtor 1          David Joe Dunham
                  Colleen Anders Dunham                                                         Case number (if known)

 Part 5:             Explain Your Efforts to Receive a Briefing About Credit Counseling
15.   Tell the court           About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
      whether you              You must check one:                                              You must check one:
      have received a                I received a briefing from an approved credit                I received a briefing from an approved credit
      briefing about                 counseling agency within the 180 days before                 counseling agency within the 180 days before
      credit                         I                                                            I
      counseling.                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
                                     Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      The law requires               plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      that you receive a
                                     I received a briefing from an approved credit                I received a briefing from an approved credit
      briefing about
                                     counseling agency within the 180 days before                 counseling agency within the 180 days before
      credit
                                     I                                                            I
      counseling
                                     filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
      before
      you file for                   Within 14 days after you file this bankruptcy                Within 14 days after you file this bankruptcy
      bankruptcy. You                petition,                                                    petition,
      must truthfully                you MUST file a copy of the certificate and                  you MUST file a copy of the certificate and
      check one of the               I certify that I asked for credit counseling                 I certify that I asked for credit counseling
      following choices.             services from an approved agency, but was                    services from an approved agency, but was
      If you cannot do               unable to obtain those services during the 7                 unable to obtain those services during the 7
      so,                            days after I made my request, and exigent                    days after I made my request, and exigent
      you are not                    circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
      eligible                       waiver of the requirement.                                   waiver of the requirement.
      to file.
                                     To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                     requirement, attach a separate sheet                         requirement, attach a separate sheet
      If you file anyway,
                                     explaining what                                              explaining what
      the court can
                                     efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
      dismiss your
                                     were unable to obtain it before you filed for                were unable to obtain it before you filed for
      case,
                                     bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
      you will lose
                                     required you to file this case.                              required you to file this case.


                                     Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                     dissatisfied with your reasons for not receiving             dissatisfied with your reasons for not receiving
                                     a                                                            a
                                     briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.


                                     If the court is satisfied with your reasons, you             If the court is satisfied with your reasons, you
                                     must                                                         must
                                     still receive a briefing within 30 days after you            still receive a briefing within 30 days after you
                                     file.                                                        file.
                                     You must file a certificate from the approved                You must file a certificate from the approved
                                     agency,                                                      agency,


                                     I am not required to receive a briefing about                I am not required to receive a briefing about
                                     credit counseling because of:                                credit counseling because of:

                                             Incapacity.     I have a mental illness or a                 Incapacity.    I have a mental illness or a
                                                             mental                                                      mental
                                                             deficiency that makes me                                    deficiency that makes me
                                                             incapable of realizing or                                   incapable of realizing or

                                             Disability.     My physical disability causes                Disability.    My physical disability causes
                                                             me                                                          me
                                                             to be unable to participate in a                            to be unable to participate in a
                                                             briefing in person, by phone, or                            briefing in person, by phone, or
                                                             through the internet, even after                            through the internet, even after

                                             Active   duty. I am currently on active military             Active duty. I am currently on active military
                                                             duty in a military combat zone.                             duty in a military combat zone.

                                     If you believe you are not required to receive a             If you believe you are not required to receive a
                                     briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                     motion for waiver of credit counseling with the              motion for waiver of credit counseling with the


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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                Case number (if known)

 Part 6:          Answer These Questions for Reporting Purposes
16.   What kind of debts do you        16a. Are your debts primarily consumer debts?     Consumer debtsare defined in 11 U.S.C. § 101(8)
      have?                                 as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                       16b. Are your debts primarily business debts? Business debtsare debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                       16c. State the type of debts you owe that are not consumer or business debts.


17.   Are you filing under
      Chapter 7?                           No.   I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                    administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and
      administrative expenses                         No
      are paid that funds will be
                                                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                1-49                          1,000-5,000                     25,001-50,000
      you estimate that you                50-99                         5,001-10,000                    50,001-100,000
      owe?
                                           100-199                       10,001-25,000                   More than 100,000
                                           200-999
19.   How much do you                      $0-$50,000                    $1,000,001-$10 million          $500,000,001-$1 billion
      estimate your assets to              $50,001-$100,000              $10,000,001-$50 million         $1,000,000,001-$10 billion
      be worth?
                                           $100,001-$500,000             $50,000,001-$100 million        $10,000,000,001-$50 billion
                                           $500,001-$1 million           $100,000,001-$500 million       More than $50 billion
20.   How much do you                      $0-$50,000                    $1,000,001-$10 million          $500,000,001-$1 billion
      estimate your liabilities to         $50,001-$100,000              $10,000,001-$50 million         $1,000,000,001-$10 billion
      be?
                                           $100,001-$500,000             $50,000,001-$100 million        $10,000,000,001-$50 billion
                                           $500,001-$1 million           $100,000,001-$500 million       More than $50 billion




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Debtor 1    David Joe Dunham
            Colleen Anders Dunham                                                                Case number (if known)

 Part 7:     Sign Below
For you                             I have examined this petition, and I declare under penalty of perjury that the information
                                    provided is true
                                    and correct.


                                    If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under
                                    Chapter 7, 11, 12,
                                    or 13 of title 11, United States Code. I understand the relief available under each chapter, and
                                    I choose to
                                    proceed under Chapter 7.


                                    If no attorney represents me and I did not pay or agree to pay someone who is not an attorney
                                    to help me
                                    fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).


                                    I request relief in accordance with the chapter of title 11, United States Code, specified in this


                                    X /s/ David Joe Dunham                                               X /s/ Colleen Anders Dunham
                                        David Joe Dunham, Debtor 1                                           Colleen Anders Dunham, Debtor 2

                                        Executed on03/15/2019                                                Executed on03/15/2019
                                                   MM / DD / YYYY                                                       MM / DD / YYYY




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                                Case number (if known)
For your attorney, if you are           I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s)
represented by one                      about
                                        eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have
If you are not represented by           explained the
an attorney, you do not need            relief available under each chapter for which the person is eligible. I also certify that I have
to file this page.                      delivered to



                                        X /s/ Charles J. Kania                                                           Date 03/15/2019
                                            Signature of Attorney for Debtor                                                  MM / DD / YYYY

                                            Charles J. Kania
                                            Printed name
                                            Charles J. Kania & Associates, P.C.
                                            Firm Name
                                            5319 South Lewis
                                            Number       Street
                                            Suite 120

                                            Tulsa, OK 74105


                                            City                                                                 State              ZIP Code


                                            Contact phone (918) 743-2239                             Email addresscharles@kanialaw.com

                                            20512
                                            Bar number                                                           State




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  Fill in this information to identify your case and this filing:
  Debtor 1                   David                         Joe                Dunham
                             First Name                    Middle Name        Last Name


  Debtor 2           Colleen                               Anders             Dunham
  (Spouse, if filing)First Name                            Middle Name        Last Name


                                      NORTHERN DISTRICT OF OKLAHOMA
  United States Bankruptcy Court for the:

  Case number                                                                                                                 Check if this is an
  (if known)
                                                                                                                              amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every


  Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
              No. Go to Part 2.
              Yes. Where is the property?

1.1.                                                              What is the property?                  Do not deduct secured claims or exemptions. Put the
1507 E 53rd Street                                                Check all that apply.                                            Schedule
                                                                                                         amount of any secured claims on D:
Street address, if available, or other description
                                                                    Single-family home                   Creditors Who Have Claims Secured by Property.
                                                                    Duplex or multi-unit building        Current value of the         Current value of the
                                                                    Condominium or cooperative           entire property?             portion you own?
Tulsa                                  OK       74105               Manufactured or mobile home                     $95,000.00                  $95,000.00
City                                   State    ZIP Code
                                                                    Land
                                                                    Investment property                  Describe the nature of your ownership
                                                                    Timeshare                            interest (such as fee simple, tenancy by the
Tulsa                                                                                                    entireties, or a life estate), if known.
County                                                              Other
                                                                                                         Fee Simple
                                                                  Who has an interest in the property?
                                                                  Check one.
                                                                    Debtor 1 only                       Check if this is community property
                                                                    Debtor 2 only                       (see instructions)
                                                                    Debtor 1 and Debtor 2 only
                                                                    At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:
1507 E 53rd Street Tulsa, Oklahoma 74105 Legally described as Lot Twenty-eight (28), Block Seven (7), Lecrone's Lazy L
Addition, Tulsa County, State of Oklahoma, according to the Recorded Plat thereof.

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here............................................................. $95,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                    page 1
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Debtor 1      David Joe Dunham
              Colleen Anders Dunham                                                      Case number (if known)


 Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered Include
                                                                                                       or not?
                                                                                                            any vehicles
you own that someone else drives. If you lease a vehicle, also report
                                                                   Schedule
                                                                      it on G: Executory Contracts and Unexpired Leases.

3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes
3.1.                                            Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make:              Fiat                         Check one.                                                      Schedule
                                                                                     amount of any secured claims   on D:
                                                  Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:             500
                                                     Debtor 2 only                    Current value of the                Current value of the
Year:              2015
                                                     Debtor 1 and Debtor 2 only       entire property?                    portion you own?
                   61,000
Approximate mileage:                                 At least one of the debtors and another     $4,500.00                            $4,500.00
Other information:
2015 Fiat 500 (approx. 61,000 miles)                 Check if this is community property
                                                     (see instructions)
3.2.                                            Who has an interest in the property? Do not deduct secured claims or exemptions. Put the
Make:              Nissan                       Check one.                                                      Schedule
                                                                                     amount of any secured claims   on D:
                                                  Debtor 1 only                      Creditors Who Have Claims Secured by Property.
Model:             Frontier
                                                     Debtor 2 only                    Current value of the                Current value of the
Year:              2004
                                                     Debtor 1 and Debtor 2 only       entire property?                    portion you own?
                   120,000
Approximate mileage:                                 At least one of the debtors and another     $2,500.00                            $2,500.00
Other information:
2004 Nissan Frontier (approx. 120,000                Check if this is community property
                                                     (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples:Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here............................................................. $7,000.00

 Part 3:         Describe Your Personal and Household Items
                                                                                                                          Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                          portion you own?
                                                                                                                          Do not deduct secured
                                                                                                                          claims or exemptions.
6.   Household goods and furnishings
     Examples:Major appliances, furniture, linens, china, kitchenware
           No
                         Household goods and belongings.
           Yes. Describe............                                                                                                  $1,500.00

7.   Electronics
     Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
               music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............




Official Form 106A/B                                        Schedule A/B: Property                                                          page 2
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Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                                        Case number (if known)

8.   Collectibles of value
     Examples:Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
9.   Equipment for sports and hobbies
     Examples:Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
              canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
10. Firearms
    Examples:Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
11. Clothes
    Examples:Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
                         2 adults
           Yes. Describe............                                                                                                                                    $750.00

12. Jewelry
    Examples:Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
           No
                         Wedding rings
           Yes. Describe............                                                                                                                                    $500.00

13. Non-farm animals
    Examples:Dogs, cats, birds, horses
           No
           Yes. Describe............
14. Any other personal and household items you did not already list, including any health aids you
    did not list
           No
           Yes. Give specific
           information......................
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
                                                                                                                                                            $2,750.00
    attached for Part 3. Write the number here.......................................................................................................................

 Part 4:          Describe Your Financial Assets
                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                           portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
16. Cash
    Examples:Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
             petition
           No
                                                                                                                                                                       $125.00
           Yes...........................................................................................................................................................................................
                                                                                                                      Cash: ...........................................




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 3
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                            Case number (if known)

17. Deposits of money
    Examples:Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
             brokerage houses, and other similar institutions. If you have multiple accounts with the same
             institution, list each.
           No
           Yes..............................       Institution name:

           17.1. Checking account:                 Tulsa Teachers Credit Union Checking account Account No.
                                                                                                                                        $30.56
           17.2. Checking account:                 Oklahoma Central Credit Union Checking account Account No
                                                   xxxx-610                                                                            $188.91

           17.3. Checking account:                 Arvest Checking account No. xxxx-2426                                              ($76.19)
18. Bonds, mutual funds, or publicly traded stocks
    Examples:Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes..............................
                                      Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                      Name of entity:                                                          % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments
                         include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instrumentsare those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                      Issuer name:
21. Retirement or pension accounts
    Examples:Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
             profit-sharing plans
           No
           Yes. List each
           account separately.
                            Type of account: Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
           No
           Yes..............................                  Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
           No
           Yes..............................
                                      Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes..............................
                                      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them


Official Form 106A/B                                                Schedule A/B: Property                                               page 4
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                     Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples:Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them
27. Licenses, franchises, and other general intangibles
    Examples:Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them
Money or property owed to you?                                                                                          Current value of the
                                                                                                                        portion you own?
                                                                                                                        Do not deduct secured
                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                      Federal:
           about them, including whether
           you already filed the returns                                                                       State:
           and the tax years.....................................                                              Local:
29. Family support
    Examples:Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                           Alimony:
                                                                                                    Maintenance:
                                                                                                    Support:
                                                                                                    Divorce settlement:
                                                                                                    Property settlement:
30. Other amounts someone owes you
    Examples:Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
             compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information
31. Interests in insurance policies
    Examples:Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................
                                         Company name:                              Beneficiary:            Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples:Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............



Official Form 106A/B                                            Schedule A/B: Property                                                page 5
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                                  Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............
35. Any financial assets you did not already list

           No
           Yes. Give specific information
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
                                                                                                                                                               $268.28
    attached for Part 4. Write that number here.......................................................................................................................

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.
                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe................
39. Office equipment, furnishings, and supplies
    Examples:Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
              desks, chairs, electronic devices
           No
           Yes. Describe................
40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe................
41. Inventory

           No
           Yes. Describe................
42. Interests in partnerships or joint ventures

           No
           Yes. Describe................
                         Name of entity:                                                                              % of ownership:
43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information
                                                                    (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe..............
44. Any business-related property you did not already list

           No
           Yes. Give specific information.
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 5. Write that number here.......................................................................................................................



Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 6
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                                  Case number (if known)


 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                             Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
47. Farm animals
    Examples:Livestock, poultry, farm-raised fish
           No
           Yes............................
48. Crops--either growing or harvested

           No
           Yes. Give specific
           information..........................
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           No
           Yes..............................
50. Farm and fishing supplies, chemicals, and feed

           No
           Yes..............................
51. Any farm- and commercial fishing-related property you did not already list

           No
           Yes. Give specific
           information..........................
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
                                                                                                                                                                   $0.00
    attached for Part 6. Write that number here.......................................................................................................................

 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples:Season tickets, country club membership

           No
           Yes. Give specific information.

54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                            $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                      page 7
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Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                                        Case number (if known)


  Part 8: List the Totals of Each Part of this Form

                                                                                                                                                                       $95,000.00
55. Part 1: Total real estate, line 2..............................................................................................................................................

56. Part 2: Total vehicles, line 5                                                                     $7,000.00

57. Part 3: Total personal and household items, line 15                                                $2,750.00

58. Part 4: Total financial assets, line 36                                                              $268.28

59. Part 5: Total business-related property, line 45                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                $0.00

61. Part 7: Total other property not listed, line 54                                  +                      $0.00

                                                                                                                         Copy personal
62. Total personal property.Add lines 56 through 61.................................$10,018.28                           property total             +              $10,018.28



63. Total of all property on Schedule A/B.                                                                                                        $105,018.28
                                         Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 8
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 Fill in this information to identify your case:
 Debtor 1             David                  Joe                     Dunham
                      First Name             Middle Name             Last Name

 Debtor 2           Colleen                  Anders                  Dunham
 (Spouse, if filing)First Name               Middle Name             Last Name

                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:                                                                                    Check if this is an
 Case number                                                                                                                amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying corre
                            Schedule
Using the property you listed  on    A/B: Property
                                                (Official Form 106A/B) as your source, list the property that you claim as exempt. If m
space is needed, fill out and attach to this page as manyPart 2: Additional
                                                            copies of       Pageas necessary. On the top of any additional pages,
write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing
so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2.   For any property you list on
                               Schedule A/Bthat you claim as exempt, fill in the information below.
Brief description of the property and line on              Current value of       Amount of the                  Specific laws that allow exemption
Schedule A/Bthat lists this property                       the portion you        exemption you claim
                                                           own

                                                           Copy the value fromCheck only one box
                                                           Schedule A/B       for



Brief description:                                               $4,500.00
2015 Fiat 500 (approx. 61,000 miles) VIN                                                100% of fair
3C3CFFAR0FT507928                                                                       market
Line fromSchedule A/B: 3.1                                                              value, up to any


Brief description:                                               $1,500.00                   $1,500.00
Household goods and belongings.                                                         100% of fair
Line fromSchedule A/B:             6                                                    market
                                                                                        value, up to any




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               No
               Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                         page 1
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                              Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on   Current value of    Amount of the             Specific laws that allow exemption
Schedule A/Bthat lists this property            the portion you     exemption you claim
                                                own

                                                Copy the value fromCheck only one box
                                                Schedule A/B       for

Brief description:                                    $750.00                 $750.00         Okla. Stat. tit. 31 § 1(A)(7)
2 adults                                                                 100% of fair

Line fromSchedule A/B:        11                                         market
                                                                         value, up to any


Brief description:                                    $500.00                                 Okla. Stat. tit. 31 § 1(A)(8)
Wedding rings                                                            100% of fair
                              12                                         market
Line fromSchedule A/B:
                                                                         value, up to any


Brief description:                                    $125.00                                 Okla. Stat. tit. 12 § 1171.1
Cash on hand                                                             100% of fair

Line fromSchedule A/B:        16                                         market
                                                                         value, up to any


Brief description:                                    $30.56                                  Okla. Stat. tit. 12 § 1171.1
Tulsa Teachers Credit Union Checking                                     100% of fair
                                                                         market
Line fromSchedule A/B: 17.1                                              value, up to any


Brief description:                                    $188.91
Oklahoma Central Credit Union Checking                                   100% of fair
account Account No xxxx-610                                              market
Line fromSchedule A/B: 17.2                                              value, up to any


Brief description:                                    ($76.19)
Arvest Checking account No. xxxx-2426                                    100% of fair
Line fromSchedule A/B: 17.3                                              market
                                                                         value, up to any




Official Form 106C                       Schedule C: The Property You Claim as Exempt                                              page 2
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  Fill in this information to identify your case:
  Debtor 1              David                      Joe                     Dunham
                        First Name                 Middle Name             Last Name


  Debtor 2           Colleen                       Anders                  Dunham
  (Spouse, if filing)First Name                    Middle Name             Last Name


                                      NORTHERN DISTRICT OF OKLAHOMA
  United States Bankruptcy Court for the:

  Case number                                                                                                                    Check if this is an
  (if known)
                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this


1.     Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this for
            Yes. Fill in all of the information below.

  Part 1:            List All Secured Claims

2.     List all secured claims.
                             If a creditor has more than one secured
       claim, list the creditor separately for each claim. If more                           Column A           Column B                        Column C
       than one                                                                              Amount of claim Value of collateral                Unsecured
       creditor has a particular claim, list the other creditors in                          Do not deduct thethat supports this                portion
                                                                                             value of collateralclaim                           If any
 2.1                                                  Describe the property that
                                                      secures the claim:                            $24,993.01                   $95,000.00
BancFirst                                             1507 E 53rd Street
Creditor's name
PO Box 680
Number      Street


                                                      As of the date you file, the claim Check
                                                                                         is:   all that apply.
                                                         Contingent
Tulsa                     OK         74101-0680          Unliquidated
City                      State      ZIP Code
                                                         Disputed
Who owes the debt?Check one.           Nature of lien.Check all that apply.
  Debtor 1 only
                                          An agreement you made (such as mortgage or secured car loan)
  Debtor 2 only
                                          Statutory lien (such as tax lien, mechanic's lien)
  Debtor 1 and Debtor 2 only
                                          Judgment lien from a lawsuit
  At least one of the debtors and another
                                          Other (including a right to offset)
  Check if this claim relates             Secured
  to a community debt
Date debt was incurred                                Last 4 digits of account number 9            5    9     2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                   $24,993.01

Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                page 1
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Debtor 1          David Joe Dunham
                  Colleen Anders Dunham                                                     Case number (if known)

                     Additional Page                                                     Column A           Column B           Column C
  Part 1:            After listing any entries on this page, number them                 Amount of claim Value of collateral   Unsecured
                     sequentially from the previous page.                                Do not deduct thethat supports this   portion
                                                                                         value of collateralclaim              If any

 2.2                                                 Describe the property that
                                                     secures the claim:                       $50,762.39         $95,000.00
Mr. Cooper                                           1507 E 53rd Street
Creditor's name
8950 Cypress Waters Blvd.
Number      Street


                                                     As of the date you file, the claim Check
                                                                                        is:   all that apply.
                                                        Contingent
Coppell                     TX      75019               Unliquidated
City                        State   ZIP Code
                                                        Disputed
Who owes the debt?Check one.           Nature of lien.Check all that apply.
  Debtor 1 only
                                          An agreement you made (such as mortgage or secured car loan)
  Debtor 2 only
                                          Statutory lien (such as tax lien, mechanic's lien)
  Debtor 1 and Debtor 2 only
                                          Judgment lien from a lawsuit
  At least one of the debtors and another
                                          Other (including a right to offset)
  Check if this claim relates             Purchase Money
  to a community debt
Date debt was incurred                               Last 4 digits of account number 5       8    2   7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $50,762.39

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                            $75,755.40

Official Form 106D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2
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  Fill in this information to identify your case:
  Debtor 1                 David                     Joe                  Dunham
                           First Name                Middle Name          Last Name


  Debtor 2           Colleen                         Anders               Dunham
  (Spouse, if filing)First Name                      Middle Name          Last Name


                                      NORTHERN DISTRICT OF OKLAHOMA
  United States Bankruptcy Court for the:

  Case number                                                                                                               Check if this is an
  (if known)
                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property(Official Form 106A/B) and on
                                                     Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed
                                                                     Schedule
                                                                           in D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).

  Part 1:           List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.
2.     List all of your priority unsecured claims.
                                               If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts,
       list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to


       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                             Total claim      Priority                       Nonpriority
                                                                                                              amount                         amount
     2.1

Priority Creditor's Name                                           Last 4 digits of account number
                                                                   When was the debt incurred?
Number          Street

                                                                   As of the date you file, the claim Check
                                                                                                      is:   all that apply.
                                                                      Contingent
                                                                      Unliquidated
City                                    State   ZIP Code
                                                                      Disputed
Who incurred the debt?Check one.               Type of PRIORITY unsecured claim:
    Debtor 1 only                                 Domestic support obligations
    Debtor 2 only                                 Taxes and certain other debts you owe the government
    Debtor 1 and Debtor 2 only                    Claims for death or personal injury while you were
    At least one of the debtors and another       intoxicated
    Check if this claim is for a community debt   Other. Specify
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                           Case number (if known)

  Part 2:           List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes
4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each
       claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,

                                                                                                                                        Total claim

     4.1                                                                                                                                  $2,500.00
American Airlines Federal Credit Union                       Last 4 digits of account number
Nonpriority Creditor's Name
PO Box 619001                                                When was the debt incurred?
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                           TX      75261
City                             State   ZIP Code
                                               Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.                  Student loans
  Debtor 1 only
                                                  Obligations arising out of a separation agreement or divorce
  Debtor 2 only
                                                  that you did not report as priority claims
  Debtor 1 and Debtor 2 only                      Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another         Other. Specify
    Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

     4.2                                                                                                                                  $8,992.00
American Airlines Federal Credit Union                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
PO Box 619001
Number         Street                                        As of the date you file, the claim Check
                                                                                                is:   all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Dallas                           TX      75261
City                             State   ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Unsecured
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                Case number (if known)

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                          Total claim
previous page.
   4.3                                                                                                                     $19,821.00
American Airlines Federal Credit Union                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 619001
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Dallas                        TX         75261
City                          State      ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Automobile - Repo'd
Is the claim subject to offset?
    No
    Yes

   4.4                                                                                                                      $6,961.52
Bank of America                                         Last 4 digits of account number3 5 7 7
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 851001
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Dallas                        TX         75285-1001
City                          State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 3
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                                                                                                                   03/15/2019 12:12:54pm

Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                Case number (if known)

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                          Total claim
previous page.
   4.5                                                                                                                     $11,658.78
Chase                                                   Last 4 digits of account number4       6   2    4
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 6294
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Carol Stream                  IL         60197-6294
City                          State      ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

   4.6                                                                                                                      $5,326.64
Citibank                                                Last 4 digits of account number1 6 0 7
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 9001037
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Louisville                    KY         40290-1037
City                          State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 4
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                Case number (if known)

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                          Total claim
previous page.
   4.7                                                                                                                      $6,201.92
Discover                                                Last 4 digits of account number8       5   3    2
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 6103
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Carol Stream                  IL         60197-6103
City                          State      ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

   4.8                                                                                                                      $2,000.00
Kohl's                                                  Last 4 digits of account number2 1 9 0
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 3084
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Milwaukee                     WI         53201-3120
City                          State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 5
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                Case number (if known)

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                          Total claim
previous page.
   4.9                                                                                                                      $1,091.26
QuikTrip                                                Last 4 digits of account number8       3   8    2
Nonpriority Creditor's Name
                                                        When was the debt incurred?
First National Bank of Omaha
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
PO Box 2658                                                Contingent
                                                           Unliquidated
                                                           Disputed
Omaha                         NE         68103-2658
City                          State      ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

  4.10                                                                                                                      $1,143.01
QuikTrip                                                Last 4 digits of account number7 8 3 7
Nonpriority Creditor's Name
                                                        When was the debt incurred?
First National Bank of Omaha
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
PO Box 2658                                                Contingent
                                                           Unliquidated
                                                           Disputed
Omaha                         NE         68103-2658
City                          State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 6
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                Case number (if known)

  Part 2:           Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                          Total claim
previous page.
  4.11                                                                                                                      $1,552.49
Sam's Club Credit                                       Last 4 digits of account number5       4   3    2
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 530942
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Atlanta                       GA         30353-0942
City                          State      ZIP Code
                                                  Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                     Student loans
  Debtor 1 only
                                                     Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                      that you did not report as priority claims
  Debtor 1 and Debtor 2 only                         Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                     Other. Specify
       Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes

  4.12                                                                                                                     $11,968.20
Target Card Services                                    Last 4 digits of account number1 6 4 7
Nonpriority Creditor's Name
                                                        When was the debt incurred?
PO Box 660170
Number         Street                                   As of the date you file, the claim Check
                                                                                           is:   all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
Dallas                        TX         75266-0170
City                          State
                                ZIP Code
                                             Type of NONPRIORITY unsecured claim:
Who incurred the debt?Check one.
                                                Student loans
  Debtor 1 only                                 Obligations arising out of a separation agreement or divorce
  Debtor 2 only                                 that you did not report as priority claims
  Debtor 1 and Debtor 2 only
                                                Debts to pension or profit-sharing plans, and other similar debts
  At least one of the debtors and another
                                                Other. Specify
  Check if this claim is for a community debt   Credit Card
Is the claim subject to offset?
    No
    Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                page 7
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Debtor 1       David Joe Dunham
               Colleen Anders Dunham                                                           Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.



                                                                                                                    Total claim
Total claims       6a. Domestic support obligations                                                          6a.                  $0.00
from Part 1

                   6b. Taxes and certain other debts you owe the government                                  6b.                  $0.00

                   6c. Claims for death or personal injury while you were intoxicated                        6c.                  $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.6d. +                               $0.00


                   6e. Total. Add lines 6a through 6d.                                                       6d.                  $0.00




                                                                                                                    Total claim
Total claims       6f. Student loans                                                                         6f.                  $0.00
from Part 2

                   6g. Obligations arising out of a separation agreement or divorce                          6g.                  $0.00
                        that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                           6h.                  $0.00
                        debts

                   6i. Other. Add all other nonpriority unsecured claims. Write that amount here.
                                                                                             6i. +                          $79,216.82


                   6j. Total. Add lines 6f through 6i.                                                       6j.            $79,216.82




Official Form 106E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page 8
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 Fill in this information to identify your case:
 Debtor 1             David                   Joe                     Dunham
                      First Name              Middle Name             Last Name


 Debtor 2           Colleen                   Anders                  Dunham
 (Spouse, if filing)First Name                Middle Name             Last Name


                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:

 Case number                                                                                                                     Check if this is an
 (if known)
                                                                                                                                 amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this


1.   Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form
                                                                                   Schedule
            Yes. Fill in all of the information below even if the contracts or leases        A/B: on
                                                                                      are listed  Property
                                                                                                        (Official Form 106A/B).
2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone).
                                                      See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                       page 1
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                                                                                                                                   03/15/2019 12:12:54pm


     Fill in this information to identify your case:
     Debtor 1           David                Joe                     Dunham
                        First Name           Middle Name             Last Name


     Debtor 2           Colleen              Anders                  Dunham
     (Spouse, if filing)First Name           Middle Name             Last Name


                                         NORTHERN DISTRICT OF OKLAHOMA
     United States Bankruptcy Court for the:

     Case number                                                                                                            Check if this is an
     (if known)
                                                                                                                            amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible.
If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to



1.      Do you have any codebtors?(If you are filing a joint case, do not list either spouse as a codebtor.)
             No
             Yes
2.      Within the last 8 years, have you lived in a community property state or territory?
                                                                                   (Community property states and territories
        include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
             No. Go to line 3.
             Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes
3.      In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
        person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
        creditor onSchedule D(Official Form 106D),Schedule E/F(Official Form 106E/F), Schedule
                                                                                      or       G(Official Form 106G). Use
        Schedule D, Schedule E/F, or Schedule  toGfill out Column 2.

            Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt

                                                                                                  Check all schedules that apply:




Official Form 106H                                           Schedule H: Your Codebtors                                                           page 1
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  Fill in this information to identify your case:
     Debtor 1                  David                  Joe                       Dunham
                               First Name             Middle Name               Last Name
                                                                                                                  Check if this is:
     Debtor 2                  Colleen                Anders                    Dunham
                                                                                                                       An amended filing
     (Spouse, if filing)       First Name             Middle Name               Last Name

                                                                                                                       A supplement showing postpetition
                                          NORTHERN DISTRICT OF OKLAHOMA
     United States Bankruptcy Court for the:
                                                                                                                       chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                       MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include
information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write


  Part 1:         Describe Employment
1.    Fill in your employment
      information.                                                     Debtor 1                                          Debtor 2 or non-filing spouse
      If you have more than
      one                                   Employment status                 Employed                                           Employed
      job, attach a separate                                                  Not employed                                       Not employed
      page
      with information about                Occupation                 Draftsman                                         Unemployed
      additional employers.
                                            Employer's name            Advantage Sales & Marketing
      Include part-time,
      seasonal,                             Employer's address 18100 Von Karman Ave. Suite 1000
      or self-employed work.                                           Number    Street                                  Number    Street




                                                                       Irvine                      CA      92612
                                                                       City                        State   Zip Code      City                   State   Zip Code


                                            How long employed there? 35 Years

  Part 2:         Give Details About Monthly Income
Estimate monthly income as of the date you file this form.
                                                     If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If

                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse

2.    List monthly gross wages, salary, and commissions   (before all      2.                              $617.30                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                               3. +              $1.84                    $0.00

4.    Calculate gross income.Add line 2 + line 3.                                           4.             $619.14                     $0.00




Official Form 106I                                                  Schedule I: Your Income                                                                 page 1
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                                             Case number (if known)
                                                                                                       For Debtor 1                       For Debtor 2 or
                                                                                                                                          non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                    4.               $619.14                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                              5a.              $185.62                       $0.00
     5b. Mandatory contributions for retirement plans                                               5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                               5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                               5d.                  $0.00                     $0.00
     5e. Insurance                                                                                  5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                               5f.                  $0.00                     $0.00
     5g. Union dues                                                                                 5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                  5h.+                 $0.00                     $0.00
6.   Add the payroll deductions.Add lines 5a + 5b + 5c + 5d + 5e + 5f +6.                                      $185.62                       $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.Subtract line 6 from line 4. 7.                                     $433.52                       $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating             8a.                                       $0.00                      $0.00
           a
           Attach a statement for each property and business
           showing
           gross receipts, ordinary and necessary business

     8b. Interest and dividends                                                                 8b.               $0.00                      $0.00
     8c. Family support payments that you, a non-filing spouse, or                              8c.               $0.00                      $0.00
           a
           Include alimony, spousal support, child support,
           maintenance,

     8d. Unemployment compensation                                                              8d.               $0.00                      $0.00
     8e. Social Security                                                                        8e.               $0.00                      $0.00
     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) or any
           non-
           cash assistance that you receive, such as food stamps
           (benefits under the Supplemental Nutrition Assistance
         Specify:                                                                               8f.               $0.00                      $0.00
     8g. Pension or retirement income                                                           8g.               $0.00                      $0.00
     8h. Other monthly income.
         Specify: Dunham Heat Flo Products                                                      8h.+         $1,110.00                       $0.00

9.   Add all other income.Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.
                                                                        9.                                   $1,110.00                       $0.00

10. Calculate monthly income.    Add line 7 + line 9.                     10.  $1,543.52                                      +              $0.00      =        $1,543.52
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates,
     and other
     friends or relatives.


     Specify:                                                                                                                                    11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line
                                                                   The 11.
                                                                         result is the combined monthly 12.                                                      $1,543.52
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                            Combined
                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.

        Yes. Explain:



Official Form 106I                                                    Schedule I: Your Income                                                                        page 2
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                                                                                                                                   03/15/2019 12:12:56pm


 Fill in this information to identify your case:
                                                                                                            Check if this is:
     Debtor 1                David                   Joe                   Dunham                              An amended filing
                             First Name              Middle Name           Last Name
                                                                                                               A supplement showing postpetition
     Debtor 2                Colleen                 Anders                Dunham                              chapter 13 expenses as of the
     (Spouse, if filing)     First Name              Middle Name           Last Name                           following date:

                                          NORTHERN DISTRICT OF OKLAHOMA
     United States Bankruptcy Court for the:                                                                     MM / DD / YYYY
     Case number
     (if known)
Official Form 106J
Schedule J: Your Expenses                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                      No
      Do not list Debtor 1 and                     Yes. Fill out this information Dependent's relationship to Dependent's Does dependent
                                                                                      Debtor 1 or Debtor 2
                                                   for each dependent...................................      age         live with you?
      Debtor 2.
                                                                                                                               No
                                                                                                                               Yes
      Do not state the
      dependents' names.
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                          No
      expenses of people other than
                                                        Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13
case to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the
top of the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                         Your expenses
4.    The rental or home ownership expenses for your residence.                                                         4.                     $655.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:
      4a. Real estate taxes                                                                                             4a.

      4b. Property, homeowner's, or renter's insurance                                                                  4b.

      4c. Home maintenance, repair, and upkeep expenses                                                                 4c.
      4d. Homeowner's association or condominium dues                                                                   4d.




 Official Form 106J                                                Schedule J: Your Expenses                                                        page 1
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Debtor 1      David Joe Dunham
              Colleen Anders Dunham                                                       Case number (if known)
                                                                                                            Your expenses

5.    Additional mortgage payments for your residence,
                                                  such as home equity loans                           5.
6.    Utilities:

      6a. Electricity, heat, natural gas                                                              6a.                    $140.00

      6b. Water, sewer, garbage collection                                                            6b.                     $90.00

      6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $110.00
          cable services
      6d. Other. Specify:                                                                             6d.


7.    Food and housekeeping supplies                                                                  7.                     $300.00

8.    Childcare and children's education costs                                                        8.
9.    Clothing, laundry, and dry cleaning                                                             9.

10. Personal care products and services                                                               10.
11. Medical and dental expenses                                                                       11.
12. Transportation.Include gas, maintenance, bus or train                                             12.                    $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                     13.
    magazines, and books
14. Charitable contributions and religious donations                                                  14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                             15a.

      15b. Health insurance                                                                           15b.
      15c. Vehicle insurance                                                                          15c.
      15d. Other insurance. Specify:                                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                          16.
17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                 17a.

      17b. Car payments for Vehicle 2                                                                 17b.

      17c. Other. Specify:                                                                            17c.
      17d. Other. Specify:                                                                            17d.

18.   Your payments of alimony, maintenance, and support that you did not report as                   18.
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).



19. Other payments you make to support others who do not live with you.
    Specify:                                                                                          19.




 Official Form 106J                                           Schedule J: Your Expenses                                        page 2
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Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                                      Case number (if known)
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a. Mortgages on other property                                                                                  20a.

     20b. Real estate taxes                                                                                            20b.

     20c. Property, homeowner's, or renter's insurance                                                                 20c.
     20d. Maintenance, repair, and upkeep expenses                                                                     20d.

     20e. Homeowner's association or condominium dues                                                                  20e.
21. Other. Specify:                                                                                                    21.
                                                                                                                              +
22. Calculate your monthly expenses.
     22a. Add lines 4 through 21.                                                                                      22a.                 $1,495.00

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                             22b.

     22c. Add line 22a and 22b. The result is your monthly expenses.                                                   22c.                 $1,495.00

23. Calculate your monthly net income.
     23a. Copy line 12 (your combined monthly income) from Schedule I.                                                 23a.                 $1,543.52
     23b. Copy your monthly expenses from line 22c above.                                                              23b. –               $1,495.00

     23c. Subtract your monthly expenses from your monthly income.
          The result is your monthly net income.                                                                       23c.                    $48.52

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your
     mortgage


           No.
           Yes. Explain here:
                  None.




 Official Form 106J                                               Schedule J: Your Expenses                                                     page 3
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                                                                                                                                                  03/15/2019 12:12:56pm


 Fill in this information to identify your case:
 Debtor 1              David                     Joe                       Dunham
                       First Name                Middle Name               Last Name


 Debtor 2           Colleen                      Anders                    Dunham
 (Spouse, if filing)First Name                   Middle Name               Last Name


                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:

 Case number                                                                                                                            Check if this is an
 (if known)
                                                                                                                                        amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended



 Part 1:         Summarize Your Assets

                                                                                                                                                  Your assets
                                                                                                                                                  Value of what you own
1.   Schedule A/B: Property
                         (Official Form 106A/B)
                                                                                                                                                         $95,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................

                                                                                                                                                    $10,018.28
     1b. Copy line 62, Total personal property, from Schedule A/B.............................................................................................................................

                                                                                                                                                        $105,018.28
     1c. Copy line 63, Total of all property on Schedule A/B.......................................................................................................................................


 Part 2:         Summarize Your Liabilities

                                                                                                                                                    Your liabilities
                                                                                                                                                    Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property(Official Form 106D)
                                                                                                                          $75,755.40
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims  (Official Form 106E/F)
                                                                                                                                              $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F............................................................................


                                                                                                                   +               $79,216.82
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................


                                                                                                                    Your total liabilities                   $154,972.22




 Part 3:         Summarize Your Income and Expenses

4.   Schedule I: Your Income
                           (Official Form 106I)
                                                                                                                                                    $1,543.52
     Copy your combined monthly income from line 12 of Schedule I...........................................................................................................................

5.   Schedule J: Your Expenses
                             (Official Form 106J)
                                                                                                                                                        $1,495.00
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1
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                                                                                                                 03/15/2019 12:12:56pm

Debtor 1      David Joe Dunham
              Colleen Anders Dunham                                               Case number (if known)


 Part 4:       Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts.   Consumer debtsare those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts.  You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From theStatement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11;
                                OR, Form 122B Line 11;
                                                    OR, Form 122C-1 Line 14.                                               $1,765.78


9.   Copy the following special categories of claims from Part 4, line
                                                                    Schedule
                                                                       6 of  E/F:

                                                                                                Total claim
     From Part 4 onSchedule E/F,copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                        $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00


     9d. Student loans. (Copy line 6f.)                                                                       $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
         priority claims. (Copy line 6g.)

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +                 $0.00


     9g. Total. Add lines 9a through 9f.                                                                      $0.00




Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                          page 2
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                                                                                                                                 03/15/2019 12:12:57pm


 Fill in this information to identify your case:
 Debtor 1            David                   Joe                     Dunham
                     First Name              Middle Name             Last Name


 Debtor 2           Colleen                  Anders                  Dunham
 (Spouse, if filing)First Name               Middle Name             Last Name


                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:

 Case number                                                                                                              Check if this is an
 (if known)
                                                                                                                          amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                              12/15

If two married people are filing together, both are equally responsible for supplying correct information.


You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                 Sign Below

     Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
            No

            Yes. Name of person                                                                          Attach Bankruptcy Petition Preparer's Notice,
                                                                                                         Declaration, and Signature
                                                                                                                                  (Official Form 119).




     Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they
     are



     X /s/ David Joe Dunham                                        X /s/ Colleen Anders Dunham
           David Joe Dunham, Debtor 1                                  Colleen Anders Dunham, Debtor 2

           Date 03/15/2019                                             Date 03/15/2019
                MM / DD / YYYY                                              MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                                page 1
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                                                                                                                                 03/15/2019 12:12:57pm


 Fill in this information to identify your case:
 Debtor 1            David                  Joe                     Dunham
                     First Name             Middle Name             Last Name


 Debtor 2           Colleen                 Anders                  Dunham
 (Spouse, if filing)First Name              Middle Name             Last Name


                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:

 Case number                                                                                                              Check if this is an
 (if known)
                                                                                                                          amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,


 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
       Married
       Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories
                                            include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out
                                  Schedule H: Your Codebtors
                                                          (Official Form 106H).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1            David Joe Dunham
                    Colleen Anders Dunham                                                                    Case number (if known)

 Part 2:             Explain the Sources of Your Income
4.      Did you have any income from employment or from operating a business during this year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
        If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


             No
             Yes. Fill in the details.

                                                              Debtor 1                                                       Debtor 2

                                                            Sources of income                Gross income                   Sources of income         Gross income
                                                            Check all that apply.            (before deductions             Check all that apply.     (before deductions
                                                                                             and exclusions                                           and exclusions

From January 1 of the current year                              Wages,                                   $4,080.96             Wages,
until                                                           commissions,                                                   commissions,

                                                                Operating a business                                           Operating a business


For the last calendar year:                                     Wages,                                 $21,122.85              Wages,
                                                                commissions,                                                   commissions,
(January 1 to December 31,2018 )
                                      YYYY                      Operating a business                                           Operating a business


For the calendar year before that:                              Wages,                                 $11,150.00              Wages,
                                                                commissions,                                                   commissions,
(January 1 to December 31,2017 )
                                      YYYY                      Operating a business                                           Operating a business
5.      Did you receive any other income during this year or the two previous calendar years?
        Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
        Security;
        unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from
        lawsuits; royalties;
        and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only
        once under

             No
             Yes. Fill in the details.

                                                              Debtor 1                                                       Debtor 2

                                                            Sources of income                  Gross income       Sources of income                    Gross income
                                                            Describe below.                    from each source Describe below.                        from each source
                                                                                               (before deductions                                      (before deductions
                                                                                               and exclusions                                          and exclusions

From January 1 of the current year
until




For the last calendar year:                                 Gambling Winnings                            $2,880.00
(January 1 to December 31,2018 )
                                    YYYY



                                                            Pension                                   $102,555.00
For the calendar year before that:
                                                            Gambling Winnings                         $161,116.00
(January 1 to December 31,2017 )
                                    YYYY




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 2
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                                                                                                                                      03/15/2019 12:12:57pm

Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                                  Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts.     Consumer debtsare defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                      No. Go to line 7.

                      Yes.   List below each creditor to whom you paid a total of $6,425* or more in one or more
                             payments and the
                             total amount you paid that creditor. Do not include payments for domestic support

                   * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes.   List below each creditor to whom you paid a total of $600 or more and the total amount you
                             paid that
                             creditor. Do not include payments for domestic support obligations, such as child support


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insidersinclude your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and
     any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic


           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.
           No
           Yes. List all payments that benefited an insider.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1          David Joe Dunham
                  Colleen Anders Dunham                                                                     Case number (if known)

  Part 4:              Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions,
       support or custody


            No
            Yes. Fill in the details.
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
                                                                      Describe the property                                           Date       Value of the property
                                                                      2015 Ford Fusion (107000 miles)
American Airlines Credit Union                                                                                                           2018        $11,750.00
Creditor's Name

4151 Amon Carter Blvd.
Number        Street                                                  Explain what happened
                                                                         Property was repossessed.
                                                                         Property was foreclosed.
Fort Worth                               TX        76155                 Property was garnished.
City                                     State     ZIP Code              Property was attached, seized, or levied.

11.    Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
       amounts from your accounts or refuse to make a payment because you owed a debt?

            No
            Yes. Fill in the details.
12.    Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit
       of

            No
            Yes

  Part 5:              List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

            No
            Yes. Fill in the details for each gift.

14.    Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than
       $600


            No
            Yes. Fill in the details for each gift or contribution.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 4
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Debtor 1           David Joe Dunham
                   Colleen Anders Dunham                                                         Case number (if known)

  Part 6:               List Certain Losses
15.    Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft,
       fire,

               No
               Yes. Fill in the details.

  Part 7:               List Certain Payments or Transfers
16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property
       to

       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

               No
               Yes. Fill in the details.
                                                        Description and value of any property transferredDate payment Amount of
Law Office Of Charles Kania                                                                              or transfer was payment
Person Who Was Paid                                                                                      made
5319 South Lewis Ave Suite 120                                                                                            02/25/2019     $1,015.00
Number         Street

Tulsa, OK 74105


City                             State     ZIP Code


Email or website address



Person Who Made the Payment, if Not You

                                                        Description and value of any property transferredDate payment Amount of
001 Debtoredu, LLC                                                                                       or transfer was payment
Person Who Was Paid                                                                                      made
                                                                                                                                          $15.00
Number         Street




City                             State     ZIP Code



Email or website address


Person Who Made the Payment, if Not You




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 5
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Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                                  Case number (if known)
17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property
      to

      Do not include any payment or transfer that you listed on line 16.
             No
             Yes. Fill in the details.
18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other
      than
      Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your
      property).


             No
             Yes. Fill in the details.
19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
       No
       Yes. Fill in the details.

 Part 8:           List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20.   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
      benefit, closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage

             No
             Yes. Fill in the details.

21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
      for securities, cash, or other valuables?

             No
             Yes. Fill in the details.
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:           Identify Property You Hold or Control for Someone Else
23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.

             No
             Yes. Fill in the details.




Official Form 107                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
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                                                                                                                               03/15/2019 12:12:57pm

Debtor 1        David Joe Dunham
                Colleen Anders Dunham                                                            Case number (if known)

 Part 10:         Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:
   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material
                    means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an
      environmental


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.
26.   Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements
      and

            No
            Yes. Fill in the details.

 Part 11:         Give Details About Your Business or Connections to Any Business
27.   Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
      business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
28.   Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business?
      Include

            No
            Yes. Fill in the details below.




Official Form 107                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7
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Debtor 1      David Joe Dunham
              Colleen Anders Dunham                                                           Case number (if known)

 Part 12:       Sign Below
I have read the answers on this
                            Statement of Financial Affairs
                                                       and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years,




X /s/ David Joe Dunham                                      X /s/ Colleen Anders Dunham
   David Joe Dunham, Debtor 1                                   Colleen Anders Dunham, Debtor 2

   Date      03/15/2019                                         Date      03/15/2019

Did you attach additional pagesYour
                                to Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                (Official Form 107)?
    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
    No
    Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                     Declaration, and Signature(Official Form 119).




Official Form 107                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
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                                                                                                                                   03/15/2019 12:12:58pm


 Fill in this information to identify your case:
 Debtor 1             David                   Joe                     Dunham
                      First Name              Middle Name             Last Name


 Debtor 2           Colleen                   Anders                  Dunham
 (Spouse, if filing)First Name                Middle Name             Last Name


                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:

 Case number                                                                                                                             Check if this is an
 (if known)
                                                                                                                                         amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or
     you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.


If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.


Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part Schedule
                                                1 of     D: Creditors Who Hold Claims Secured by Property
                                                                                                    (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral What do you intend to do with the                             Did you claim the property
                                                                property that secures a debt?                                 as exempt on Schedule C?

      Creditor's        BancFirst                                                  Surrender the property.                         No
      name:                                                                        Retain the property and redeem it.              Yes
      Description of    1507 E 53rd Street                                         Retain the property and enter into a
      property                                                                     Reaffirmation Agreement.
      securing debt:                                                               Retain the property and [explain]:


      Creditor's        Mr. Cooper                                                 Surrender the property.                         No
      name:                                                                        Retain the property and redeem it.              Yes
      Description of    1507 E 53rd Street                                         Retain the property and enter into a
      property                                                                     Reaffirmation Agreement.
      securing debt:                                                               Retain the property and [explain]:




Official Form 108                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
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                                                                                                            03/15/2019 12:12:58pm

Debtor 1     David Joe Dunham
             Colleen Anders Dunham                                              Case number (if known)

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed Schedule
                                                              in    G: Executory Contracts and Unexpired Leases  (Official Form 106G),
fill in the information below. Do not list real estate leases.
                                                         Unexpired leases
                                                                        are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                Will this lease be assumed?

     None.


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ David Joe Dunham                               X /s/ Colleen Anders Dunham
   David Joe Dunham, Debtor 1                           Colleen Anders Dunham, Debtor 2
   Date 03/15/2019                                      Date 03/15/2019
        MM / DD / YYYY                                       MM / DD / YYYY




Official Form 108                    Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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                                                                                                                                                                   03/15/2019 12:12:58pm

B2030 (Form 2030) (12/15)
                                                        UNITED STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF OKLAHOMA
                                                                 TULSA DIVISION
In re    David Joe Dunham                                                                                                      Case No.
         Colleen Anders Dunham

                                                                                                                               Chapter           7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
     is as follows:


     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                             $1,015.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $1,015.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                  $0.00

2. The source of the compensation paid to me was:
                      Debtor                                   Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                                   Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.



5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:


     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;


     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;


     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




     Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; meeting of
     creditors. In addition to portion of fee paid as stated herein, the court's filing fee and a credit report fee for each
     party has been paid by client(s). Also, debtor have been advised they have no legal obligation to pay any
     outstanding attorney fees owing at time of bankruptcy filing and that payments post-petition are strictly voluntary.
     Client may use the services of 722redemption.com to providing funding for redemptions of vehicles; debtor will
     borrow $700 from 722redemption.com to pay attorney fees for attorney fees to obtain redemption.
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                       CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.




                        03/15/2019                                  /s/ Charles J. Kania
                           Date                                     Charles J. Kania                               Bar No. 20512
                                                                    Charles J. Kania & Associates, P.C.
                                                                    5319 South Lewis
                                                                    Suite 120
                                                                    Tulsa, OK 74105
                                                                    Charles@kanialaw.com




    /s/ David Joe Dunham                                                              /s/ Colleen Anders Dunham
   David Joe Dunham                                                                  Colleen Anders Dunham
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Revised 02/2012
                          IN THE UNITED STATES BANKRUPTCY COURT


IN RE:                                       §
                                             § Case No. :
                 David Joe Dunham            §
               Colleen Anders Dunham         § Chapter: 7
                                             §
                                   DEBTOR(S) §
                              VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                           Original

                                           Amendment
                                                Add               Delete

         I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on
application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the best of my
knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the
shared responsibility of the debtor and the debtor's attorney, (2) the court will rely on the creditor listing for all
mailings, and (3) that the various schedules and statements required by the Bankruptcy Rules are not used for
mailing purposes.

         If this filing is an amendment to the creditor list, indicate only the number of creditors being added
or to be deleted at this time. (For verification purposes, attach a list of the creditors being submitted,
uploaded, or to be deleted.)

         __14___ # of Creditors (or if amended, # of creditors added)

         Method of submission:
                a) __ __ uploaded to Electronic Case Filing System; or
                b) ______ Creditor List Submission application (to be used by Pro Se filers, found on the Court's

         website at www.oknb,uscourts.gov, or available in the Clerk's Office)

         _____ # of Creditors (on attached list) to be deleted


         _        /S/ David Joe Dunham____________             ______     /S/___Colleen Anders Dunham________
         Debtor Signature David Joe Dunham                     Joint Debtor Signature Colleen Anders Dunham


         /s/ Charles J. Kania Counsel Debtors                     Date:_____March 15, 2019_________________
         Charles J. Kania, OBA #20512
         5319 S. Lewis Ave., Suite 120
         Tulsa, OK 74105                                          [Check if applicable]
         Telephone: (918) 743-2239                                _____ Creditor(s) with foreign addresses included
         Facsimile: (918) 743-2244
         charles@kanialaw.com
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                      American Airlines Federal Credit Union
                      PO Box 619001
                      Dallas, TX 75261



                      BancFirst
                      PO Box 680
                      Tulsa, Oklahoma 74101-0680



                      Bank of America
                      PO Box 851001
                      Dallas, TX 75285-1001



                      Chase
                      PO Box 6294
                      Carol Stream, IL 60197-6294



                      Citibank
                      PO Box 9001037
                      Louisville, KY 40290-1037



                      Discover
                      PO Box 6103
                      Carol Stream, IL 60197-6103



                      Internal Revenue Service
                      PO Box 7346
                      Philadelphia, PA 19101-7346



                      Internal Revenue Service
                      PO Box 802501
                      Cincinnati, OH 45280



                      Kohl's
                      PO Box 3084
                      Milwaukee, WI 53201-3120
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                      Mr. Cooper
                      8950 Cypress Waters Blvd.
                      Coppell, TX 75019



                      Oklahoma Tax Commission
                      P.O. Box 26930
                      Oklahoma City, OK 73126



                      QuikTrip
                      First National Bank of Omaha
                      PO Box 2658
                      Omaha, NE 68103-2658

                      Sam's Club Credit
                      PO Box 530942
                      Atlanta, GA 30353-0942



                      Target Card Services
                      PO Box 660170
                      Dallas, TX 75266-0170
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                                                                                                                                              03/15/2019 12:13:17pm


 Fill in this information to identify your case:                                                           Check one box only as directed in this
                                                                                                           form and in Form 122A-1Supp:
 Debtor 1               David                   Joe                      Dunham
                        First Name              Middle Name              Last Name                           1. There is no presumption of abuse.
 Debtor 2           Colleen                     Anders                   Dunham                              2. The calculation to determine if a
 (Spouse, if filing)First Name                  Middle Name              Last Name                              presumption
                                                                                                                of abuse applies will be made under
                                     NORTHERN DISTRICT OF OKLAHOMA
 United States Bankruptcy Court for the:
                                                                                                             3. The Means Test does not apply now
 Case number                                                                                                    because
 (if known)                                                                                                     of qualified military service but it could


                                                                                                               Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:          Calculate Your Current Monthly Income

1.   What is your marital and filing status?
                                         Check one only.

           Not married.Fill out Column A, lines 2-11.
           Married and your spouse is filing with you.
                                                   Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. You and your spouse are:
                  Living in the same household and are not legally separated.
                                                                       Fill out both Columns A and B, lines 2-11.
                  Living separately or are legally separated.
                                                         Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
                  declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that
                  applies or that you


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case.11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide
     the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental



                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                                      $655.45                      $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments.
                                   Do not include payments from a spouse                                         $0.00                    $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                                          $0.00                    $0.00
     expenses of you or your dependents, including child support.
                                                            Include
     regular contributions from an unmarried partner, members of your
     household,
     your dependents, parents, and roommates. Include regular
     contributions from




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                           page 1
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                                                                                                                                                           03/15/2019 12:13:17pm

Debtor 1         David Joe Dunham
                 Colleen Anders Dunham                                                                                 Case number (if known)

                                                                                                                            Column A             Column B
                                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                                 non-filing spouse
5.   Net income from operating a business, profession, or farm

                                                          Debtor 1                    Debtor 2

     Gross receipts (before all                                $1,110.33                         $0.00
     deductions)
                                    –
     Ordinary and necessary operating                                $0.00        –              $0.00
     expenses
                                                                                                       Copy
     Net monthly income from a business, $1,110.33                                               $0.00 here                   $1,110.33                  $0.00
     profession, or farm

6.   Net income from rental and other real property
                                                          Debtor 1                    Debtor 2

     Gross receipts (before all                                      $0.00                       $0.00
     deductions)
                                    –
     Ordinary and necessary operating                                $0.00        –              $0.00
     expenses
                                                                                                       Copy
     Net monthly income from rental or                               $0.00                       $0.00 here                          $0.00               $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                              $0.00               $0.00

8.   Unemployment compensation                                                                                                       $0.00               $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                    $0.00
           For you............................................................................................................................
                                                                                               $0.00
           For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                           $0.00               $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above.
                                               Specify the source and
     amount. Do not include any benefits received under the Social
     Security Act
     or payments received as a victim of a war crime, a crime against
     humanity,




     Total amounts from separate pages, if any.                                                                       +                          +
11. Calculate your total current monthly income.
     Add lines 2 through 10 for each column.                                                                                  $1,765.78          +       $0.00   =   $1,765.78
     Then add the total for Column A to the total for Column B.
                                                                                                                                                                 Total current
                                                                                                                                                                 monthly income




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                               page 2
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Debtor 1      David Joe Dunham
              Colleen Anders Dunham                                                                    Case number (if known)

 Part 2:        Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year.
                                                  Follow these steps:

                                                                                                       Copy line 11 here                  12a.           $1,765.78
     12a. Copy your total current monthly income from line 11....................................................................................................................
             Multiply by 12 (the number of months in a year).                                                                                           X       12

     12b. The result is your annual income for this part of the form.                                                                           12b.        $21,189.36

13. Calculate the median family income that applies toFollow
                                                      you. these steps:

     Fill in the state in which you live.                                    Oklahoma

     Fill in the number of people in your household.                               2

                                                                                                                                                    $57,723.00
     Fill in the median family income for your state and size of household....................................................................................................................
                                                                                                                                        13.
     To find a list of applicable median income amounts, go online using the link specified in
     the separate


14. How do the lines compare?

     14a.           Line 12b is less than or equal to line 13. On the top of page 1, checkThere
                                                                                           box 1,is no presumption of abuse.
                    Go to Part 3.
     14b.           Line 12b is more than line 13. On the top of page 1, check box
                                                                               The2,
                                                                                   presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A-2.

 Part 3:        Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

       X    /s/ David Joe Dunham                                                            X    /s/ Colleen Anders Dunham
            David Joe Dunham, Debtor 1                                                           Colleen Anders Dunham, Debtor 2

            Date 3/15/2019                                                                       Date 3/15/2019
                 MM / DD / YYYY                                                                       MM / DD / YYYY

       If you checked line 14a, do NOT fill out or file Form 122A-2.

       If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                                page 3
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                   IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF OKLAHOMA


IN RE:                                    §
                                          § Case No. :
              David Joe Dunham            §
            Colleen Anders Dunham         § Chapter: 7
                                          §
                                DEBTOR(S) §


             SUBMISSION OF CERTIFICATE OF CREDIT COUNSELING

       COMES NOW the Debtor, David Joe Dunham, by and through attorney, Charles J,
Kania of the KANIA LAW OFFICE, and respectfully submits to the Court the following:

       1.     David Joe Dunham's Certificate of Credit Counseling.

      WHEREFORE, Debtor prays that the Court attach this certificate to the filed
Bankruptcy case.



                                                         Respectfully submitted,

                                                         KANIA LAW OFFICE


                                                         /s/ Charles J. Kania
                                                         Charles J. Kania, OBA #20512
                                                         5319 S. Lewis Ave., Suite 120
                                                         Tulsa, OK 74105
                                                         Telephone: (918) 743-2239
                                                         Facsimile: (918) 743-2244
                                                         charles@kanialaw.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF OKLAHOMA


IN RE:                                    §
                                          § Case No. :
              David Joe Dunham            §
            Colleen Anders Dunham         § Chapter: 7
                                          §
                                DEBTOR(S) §

             SUBMISSION OF CERTIFICATE OF CREDIT COUNSELING

       COMES NOW the Joint Debtor, Colleen Anders Dunham, by and through her attorney,
Charles J, Kania of the KANIA LAW OFFICE, and respectfully submits to the Court the
following:

       1.     Colleen Anders Dunham's Certificate of Credit Counseling.

      WHEREFORE, Debtor prays that the Court attach this certificate to the filed
Bankruptcy case.



                                                         Respectfully submitted,

                                                         KANIA LAW OFFICE


                                                         /s/ Charles J. Kania
                                                         Charles J. Kania, OBA #20512
                                                         5319 S. Lewis Ave., Suite 120
                                                         Tulsa, OK 74105
                                                         Telephone: (918) 743-2239
                                                         Facsimile: (918) 743-2244
                                                         charles@kanialaw.com
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FORM 1007-1F (10/07)

                       IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OKLAHOMA


IN RE:                                     §
                                           § Case No. :
               David Joe Dunham            §
             Colleen Anders Dunham         § Chapter: 7
                                           §
                                 DEBTOR(S) §

                               PAYMENT ADVICES CERTIFICATION
                (NOTE: A separate form must be filed by each debtor in a joint case)

         Pursuant to 11 U.S.C. § 521(a)(1)(B)(iv), a debtor shall file copies of all payment advices or
other evidence of payment (such as paycheck stubs, direct deposit statements, employer's statement of
hours and earnings) received from the debtor's employer within 60 days before the date the debtor filed
his/her bankruptcy case (the "petition date").*
         I, David Joe Dunham hereby states as follows (select one) :

        I have attached hereto, or previously filed with the Court, copies of all payment advices or other
        evidence of payment received from my employer(s) within 60 days before the petition date.

                Number of Employers: ___1____ Number of Payment Advices received: ____6____
                Number of Payment Advices attached: ____6____
                Period Covered: 1-15-2019 3-15-2019
                               (If period covered is less than 60 days, attach an explanation.)
        If the attached payment advices do not cover the entire 60-day period, describe any “other
        evidence of payment” that you intend to rely upon____________________________________.

        I received payment advices from an employer(s) during the 60 days before the petition date but
        have not yet located or obtained copies of all of the payment advices. I understand that if I do not
        file all payment advices or other evidence of payment within 45 days from the petition date, my
        bankruptcy case may be dismissed.

                Number of Employers: ________ Number of Payment Advices attached: ________
                Period Covered: ______________________
                Number of missing Payment Advices: _______
                Dates of missing Payment Advices:________

        I did not receive any payment advices or other evidence of payment from any employer at any
        point during the 60 days before the petition date. (If you were employed, attach an explanation of
        why you did not receive any payment advices from your employer.)

       I declare under penalty of perjury that the foregoing statement is true and correct to the best of
       my knowledge, information and belief.
                                                        ___/s/__David Joe Dunham_____
Date: March 15, 2019                            Print name: __David Joe Dunham___
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* In order to protect the debtor's privacy, all but the last four digits of the Debtor's social security number and
financial account number should be redacted from any payment advice. References to dates of birth should contain
only the year and names of any minors should be redacted or include only initials.
                                                                      Respectfully submitted,

                                                                      KANIA LAW OFFICE


                                                                      /s/ Charles J. Kania__________
                                                                      Charles J. Kania, OBA #20512
                                                                      5319 S. Lewis Ave., Suite 120
                                                                      Tulsa, OK 74105
                                                                      Telephone: (918) 743-2239
                                                                      Facsimile: (918) 743-2244
                                                                      charles@kanialaw.com


Enc.
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FORM 1007-1F (10/07)
                       IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OKLAHOMA


IN RE:                                     §
                                           § Case No. :
               David Joe Dunham            §
             Colleen Anders Dunham         § Chapter: 7
                                           §
                                 DEBTOR(S) §

                               PAYMENT ADVICES CERTIFICATION
                (NOTE: A separate form must be filed by each debtor in a joint case)

         Pursuant to 11 U.S.C. § 521(a)(1)(B)(iv), a debtor shall file copies of all payment advices or
other evidence of payment (such as paycheck stubs, direct deposit statements, employer's statement of
hours and earnings) received from the debtor's employer within 60 days before the date the debtor filed
his/her bankruptcy case (the "petition date").*
         I, Colleen Anders Dunham hereby states as follows (select one) :

        I have attached hereto, or previously filed with the Court, copies of all payment advices or other
        evidence of payment received from my employer(s) within 60 days before the petition date.

                Number of Employers: ________ Number of Payment Advices received: ________
                Number of Payment Advices attached: ________
                Period Covered:__________________________________________________
                               (If period covered is less than 60 days, attach an explanation.)
        If the attached payment advices do not cover the entire 60-day period, describe any “other
        evidence of payment” that you intend to rely upon____________________________________.

        I received payment advices from an employer(s) during the 60 days before the petition date but
        have not yet located or obtained copies of all of the payment advices. I understand that if I do not
        file all payment advices or other evidence of payment within 45 days from the petition date, my
        bankruptcy case may be dismissed.

                Number of Employers: ________ Number of Payment Advices attached: ________
                Period Covered: ______________________
                Number of missing Payment Advices: _______
                Dates of missing Payment Advices:________

        I did not receive any payment advices or other evidence of payment from any employer at any
        point during the 60 days before the petition date. (If you were employed, attach an explanation of
        why you did not receive any payment advices from your employer.)

       I declare under penalty of perjury that the foregoing statement is true and correct to the best of
       my knowledge, information and belief.
                                                        ___/s/__Colleen Anders Dunham_____
Date: March 15, 2019                            Print name: __Colleen Anders Dunham___
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* In order to protect the debtor's privacy, all but the last four digits of the Debtor's social security number and
financial account number should be redacted from any payment advice. References to dates of birth should contain
only the year and names of any minors should be redacted or include only initials.

                                                             Respectfully submitted,

                                                                      KANIA LAW OFFICE


                                                                      /s/ Charles J. Kania__________
                                                                      Charles J. Kania, OBA #20512
                                                                      5319 S. Lewis Ave., Suite 120
                                                                      Tulsa, OK 74105
                                                                      Telephone: (918) 743-2239
                                                                      Facsimile: (918) 743-2244
                                                                      charles@kanialaw.com
